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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
DEPUTY cen GCF
IN RE
$80,989.00 IN U.S. CURRENCY; NO. 4:19-MC-
4-19MC-016-0
JOINT MOTION TO EXTEND

JIME TO FILE JUDICIAL FORFEITURE ACTION

The United States of America and Claimant Gregory Skie, through his attorney,
Frank Sellers, jointly move, pursuant to 18 U.S.C. § 983(a)(3)(A), for a 60-day extension
of time to file a judicial action, and in support state:

1, From late February to mid-March 2019, the United States obtained multiple
warrants on which agents of the Drug Enforcement Administration (DEA) seized
property for forfeiture, including $80,989.00 in U.S. Currency.

2. DEA sent written notice of its intent to administratively forfeit the seized
property to all potentially interested parties as required by 18 U.S.C. § 983(a)(1)(A). On
April 30, 2019, Skie filed his first claim with the DEA for $80,989 in U.S. Currency
seized from his residence. On July 1, 2019, Skie filed additional claims with the DEA for

some of the other seized currency. !

 

' The deadline for filing a judicial complaint on those assets is currently September 29, 2019.

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3. To date, no other person has filed a claim to the property as required by law
in the administrative forfeiture proceeding. See 18 U.S.C. § 983(a)(2)(A)-(E).

4, According to 18 U.S.C. § 983(a)3\(A)-(C), the United States is to file a
judicial forfeiture action not later than 90 days after a claim has been filed or return the
seized property pending such filing, except that a court may extend the filing period for
good cause shown or upon agreement of the parties.

5. The 90-day period that began with the first claim filed by Skie for the
$80,989.00 in U.S. Currency is set to expire on July 29, 2019. The parties have agreed to
extend the time for filing a judicial action regarding this asset for 60 days to and
including September 27, 2019.

CONCLUSION -
Therefore, the parties request an order to extend the filing period for a judicial

forfeiture action to and including September 27, 2019.

 

 

Respectfully submitted,

ERIN NEALY Cox

UNITED STATES ATTORNEY LL yy
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BEVERL WK. CHAPMAN FRANK SELLERS
Assistant United States Attorney Attorney for Claimant
llinois Bar No. 6317514 Westfall Sellers Attorneys
1100 Commerce Street, Third Floor 1701 River Run, Suite 801
Dallas, Texas 75242-1699 Fort Worth, Texas 76107
Telephone: 214-659-8600 Telephone: 817-928-4222
Facsimile: 214-659-8812 Facsimile: 817-385-6715
beverly.chapman@usdoj.gov frank@westfalisellers.com

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